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                      UNITED STATES BANKRUPTCY COURT
                       WESTERN DISTRICT OF KENTUCKY
                              PADUCAH DIVISION
                                    :
In re:                              :
                                    :
    Brigid nmn Robine               :  Case No.: 20-50271
                                    :  Chapter 7
       Debtor.                      :  Judge Alan C. Stout
                                    :  *********************
                                    :


 AGREED ORDER TO SETTLE MOTION TO SELL (DOCKET #34) AND FEDERAL
 HOME LOAN MORTGAGE CORPORATION, AS TRUSTEE FOR THE BENEFIT OF
  THE SEASONED CREDIT RISK TRANSFER TRUST, SERIES 2018-1'S RESPONSE
                            (DOCKET #36)

       This matter has come before the Court on the Motion to Sell, which was filed in this

Court by the Trustee, Mark Little (''Trustee”) at docket #34 and the response filed by Federal

Home Loan Mortgage Corporation, as Trustee for the Benefit of the Seasoned Credit Risk

Transfer Trust, Series 2018-1 ("Creditor") at docket #36.

       Upon the agreement of the parties, and for good cause shown, it is hereby ORDERED as

follows:

1.     Debtor's counsel and/or Debtor's closing agent shall obtain a current payoff quote from

       Creditor prior to the closing of a sale of the Property located at 104 Pine Terrace,

       Milford, KY 18337 ("Property"). Debtor's counsel and/or Debtor's closing agent shall

       contact Creditor's counsel the day of closing to ensure the payoff amount is valid and

       correct.

2.     Creditor has approved a short payoff in the amount of $112,121.76; all of the terms of the

       Short Sale must be adhered in full outlined in the approval and terms of the Short sale a

       copy of which is attached to Creditor’s Response to the motion to sell.




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3.    If there is a change in Buyer or Sale Price, Debtor is required to obtain a new short sale

      approval from Creditor prior to selling the property.

4.    The closing agent is permitted to pay real estate taxes, closing costs, realtor’s

      commission, mortgage title insurance costs, recording fees, document preparation fees,

      inspections and the agreed upon short sale payoff to the Creditor in the amount of

      $112,121.76. From the proceeds of the sale at closing, the Creditor agrees to pay to the

      Trustee the agreed upon carve out plus the Buyer’s premium.

5.    Provided the above terms are met, the sale may occur at any time.


IT IS SO ORDERED.

Submitted by:



 /s/ Amy E. Gardner
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_________________________________
/s/ Mark Little, Trustee
Mark Little, Trustee
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Madisonville, KY 42431
Telephone: 270-821-0110
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Copies to:

  Amy E. Gardner, Attorney for Creditor, Manley Deas Kochalski LLC, P.O. Box 165028
  Columbus, OH 43216-5028 (notified by ecf)

  Office of U.S. Trustee, Party of Interest, (Registered address)@usdoj.gov (notified by ecf)

  Mark R. Little, Chapter 7 Trustee, 1917 Versnick Way, Madisonville, KY 42431,
  trustee@littlelawky.com (notified by ecf)

  Steve Vidmer, Attorney for Debtor, 309A North 4th St, Murray, KY 42071 (notified by ecf)

  Brigid nmn Robine, 1524 Beckett Drive, Murray, KY 42071 (notified by regular US Mail)

  Brigid nmn Robine, 104 Pine Terrace, Milford, KY 18337
  (notified by regular US Mail)

  Specialized Loan Servicing/SLS, Party of Interest, Attn: Bankruptcy Po Box 636005,
  Littleton, CO 80163 (notified by regular US Mail)
